             Case 17-64941-sms                      Doc 45        Filed 01/29/21 Entered 01/29/21 16:01:14                                        Desc Main
                                                                 Document      Page 1 of 12
  Fill in this information to identify your case:

  Debtor 1              ROGER CARROLL BURGESS                                                                6/e0, 143
                         First Name               Middle Name                Lest Name

  Debtor 2
                                                                                                                         8
      (Spouse, if filing) First Name              Middle Name                Last Name                              flan°. aGtilkY Com
      United States Bankruptcy Court for the: Northern District of Georgia                                        JAN2 9 2
      Case number         17-64941                                                                                           021                  El Check if this is an
      (if known)                                                                                                                                      amended filing
                                                                                                                                      ler*
Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106AJB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1063). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
              No. Go to Part 2_
           Yes.
 2.     List all of your priority uRsecured cIa;ms If a cred!tor has more than one triority unsécufed claim, list thredltQr separately for each clim:For
        -


       „..               .       . 00,t         .       .IF a claim has both priority and nonprlorlty amounts list that claim here add show both prlolity and
      ..,,ponpriprw::00106iits:Akniugl:iaer..461.1:!lelitt,t0k.'Oulf4.1n.0104000tiool::.*(0.apporcling:tg.:.the,';yedltorsteMe.;!IfifpiffITYgopTagOVTAip,!poor....itsr,
         unsecured claims fill out the Continuation Page of Part I tmpcet an one credItor holds;aparticuierclaim list the other creditors .19),Part;...,.-
        '(Fpf:;Btil:Biplapatiort.Or!eaCh:ty06.:of:-plalmseattio,,ihsArgc.tioiler:*Ahwfon1.16.0inatiXiCtiOrt:bOOlcie0*.:-,      .



2.1
                                                                   Last 4 digits of account number
            Priority Creditor's Name
                                                                   When was the debt incurred?
            Number           Street

                                                                   As of the date you file, the claim is: Check all that apply,
                                                                   0    Contingent
            City                          State     ZIP Code
                                                                   Li   Unliguidated
            Who incurred the debt? Check one.                      CI   Disputed
            O Debtor 1 only
            U Debtor 2 only                                        Type of PRIORITY unsecured claim:
            0 Debtor 1 and Debtor 2 only                           •    Domestic support obligations
              At least one of the debtors and another
                                                                   U Taxes and certain other debts you owe the government
            0 Check if this claim is for a community debt          O Claims for death or personal Injury while you were
            lathe claim subject to offset?                           Intoxicated
            Li No                                                  O Other. Specify
            Ll Yes
2.2                                                                Last 4 digits of account number                                $
            Priority Creditor's Name
                                                                   When was the debt incurred?
            Number           Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   • Contingent
            City                          State     ZIP Code       • Unliguideted
            Who incurred the debt? Check one.                      U Disputed
            O Debtor 1 only
                                                                   Type of PRIORITY unsecured claim:
            O Debtor 2 only
                                                                   O Domestic support obligations
            O Debtor 1 and Debtor 2 only
                                                                   O Taxes and certain other debts you owe the government
            CI At least one of the debtors and another
                                                                   O Claims for death or personal injury while you were
            CI     Check if this claim is for a community debt       intoxicated
            Is the claim subject to offset?                        U Other. Specify
            Li No
            D Yes

 Official Form 106E/F                                       Schedule UP: Creditors Who Have Unsecured Claims                                            Dace 1 of 6
        Case 17-64941-sms                          Doc 45          Filed 01/29/21 Entered 01/29/21 16:01:14                                           Desc Main
                                                                  Document      Page 2 of 12
Debtor 1          ROGER CARROLL BURGESS                                                                       Case number orknowro   17-64941
                  rest Caine         Middle Name      Last Name


MEI           List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriorlty unsecured claims against you?
         0 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      2      Yes
                                    . . .              .                     .                  .                                       . ... . . .                   . .. .
  4... List all of your nonPriority.Onsectaad claims in the alphabetical                                   the creditor.WhObolds-Opth-Claim:tta creditor has Mere:than:one. ..
..' -1.nonOriority unsecured claim., list the creditor epperatelY.f0r.eiali.dik*,For Frapti:FriOirxi*tild identifYWhattyPei5feforilit.is:,biti:riO ,Rit.:dahli§ eire4dy.,:.,:..
         included in Oart-1;,..1f,MOrethan.0*.'41,itofo'r.:holog.a...00.000.61:0*;:_i!:ii,iho other CreditOfiiijfertrIgyOul.heim'.-oloW.thamthree'l'hi611PricirifyAnSecooff;.-::
      •- clairriS:fillocitthe Continuation Oada:.00.0(..2:i.:'", :, ' • :•'i ::- ..-.!!•.-.i:::-:-.. .,:l'.•-;'• :f...-;.::.-... ::- ,•



11    AUTOSTAR ACCEPTANCE CORP                                                      Last 4 digits of account number 4                6    9   2
                                                                                                                                                                  6,065.00
       Nonpriority Creditor's Name
                                                                                    When was the debt incurred?               05/20/2007
       3124 N. DECATUR ROAD, SUITE 200
       Number           Street
       SCOTTDALE                                    GA            30079
       City                                         State         ZIP Code           As of the date you file, the claim is: Check all that apply.

                                                                                     O Contingent
       Who Incurred the debt? Check one.                                             •       Unliquidated
       el Debtor 1 only                                                              O Disputed
       O Debtor 2 only
       O Debtor 1 and Debtor 2 only                                                  Type of NONPRIORITY unsecured claim:
       0 At least one of the debtors and another                                     O Student loans
                                                                                     •  Obligations arising out of a separation agreement or divorce
       0 Check if this claim is for a community debt
                                                                                        that you did not report as priority claims
       Is the claim subject to offset?                                               CI Debts to pension or profit-sharing plans, and other similar debts
       Li No                                                                         IS Other. Specify CAR LOAN CHARGE OFF
       O Yes
4.2    ROOMS TO GO                                                                   Last 4 digits of account number            4     1   1     7
       Nonoriority Creditor's Name                                                   When was the debt incurred?               03/15/20'17
       PO BOX 2107
       Number           Street
       SEFENER                                      FL             33583             As of the date you file, the claim is: Check all that apply.
       City                                         State         ZIP Code
                                                                                     •       Contingent
       Who incurred the debt? Check one.                                             •       Unliquidated
                                                                                     O Disputed
       el Debtor I only
       O Debtor 2 only
                                                                                     Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only
       D At least one of the debtors and another                                     O Student loans
                                                                                     O Obligations arising out of a separation agreement or divorce
       La Check If this claim is for a community debt                                  that you did not report as priority claims
       Is the claim subject to offset?                                               D Debts to pension or profrt-sharing plans, and other similar debts
                                                                                     IS      Other. Specify    COLLECTION ON DEBT
       el No
       0 Yes

E     T WALTON PULMONARY
       Nonpriority Creditor's Name
                                                                                     Last 4 digits of account number
                                                                                     When was the debt incurred?
                                                                                                                                 7    3
                                                                                                                               09/02/2018
                                                                                                                                          0       5                   418.00

        101 TARA COMMONS DRIVE                                                                                                                                                •
       Number           Street
        LOGANVILLE                                   GA.           30052
                                                                                     As of the date you file, the claim is: Check all that apply.
       City                                         State         ZIP Code
                                                                                         • Contingent
       Who incurred the debt? Check one.
                                                                                         O Unliquidated
        lir Debtor 1 only                                                                O Disputed
        • Debtor 2 only
        O Debtor 1and Debtor 2 only                                                  Type of NONPRIORITY unsecured claim:
        0 At least one of the debtors and another
                                                                                         •   Student loans
        O Check if this claim is for a community debt                                    LI Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
       Is the claim subject to offset?
                                                                                         O Debts to pension or profit-sharing plans, and other similar debts
           ' No
                                                                                         ir Other. Specify      MEDICAL BILL
        0 Yes


Official Form 106E/F                                        Schedule EfF: Creditors Who Have Unsecured Claims                                                    oaoe2 of6
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Debtor 1         ROGER CARROLL BURGESS                                                                      Case number urhnown) 17-64941
                  First Noma         MEW Name         Last Name


 Part 2:        Your NONPRIORITY Unsecured Claims — Continuation Page


                                                                          -                                             _
 After listing any entries on this page,.numberiherti-beginnitio witii-4.4-,'fogowedbY 45                    and so


4.4                                                                                 Last 4 digits of account number          8    8     0    2
      SUNRISE CREDIT SERVICES                                                                                                                                  $      854.00
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?             06/01/2016
      PO BOX 9100
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      FARMINGDALE                                   NY             11735
      City                                          State         ZIP Code          LI       Contingent
                                                                                    •        Unliquidated
      Who incurred the debt? Check one.                                             Er       Disputed
      0 Debtor 1 only
      U Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                  LI Student loans
      GI At least one of the debtors and another                                    O Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      0      Check if this claim is for a community debt
                                                                                    U Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               O Other. Specify           CREDIT CARD CHAGRE OFF
      Er No
      LI Yes


175
 4 -1
                                                                                    Last 4 digits of account number                                            $ 1,900.00
'     KWAN WILLIAMS
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?             04/14/2017
      7453 EDENBERRY WAY
      Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      LITHOINA                                       GA            30058
      City                                          State         ZIP Cade          LI Contingent
                                                                                        Er Unliquidated
      Who incurred the debt? Check one.                                                 U Disputed
      Er Debtor 1 only
      0      Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      0      Debtor land Debtor 2 only                                                  0    Student loans
      LI At least one of the debtors and another                                        LI Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
       0 Check If this claim is for a community debt
                                                                                        O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   id   Other. Specify    JUDGEMENT FOR RENT
      id No
      El Yes


4.6                                                                                                                                                            $ 1 869 00
                                                                                        Last 4 digits of account number
      CARLOS BASTO
       Nonpriority Creditor's Name
                                                                                        When was the debt incurred?          10/20/2013
       1904 MANOR OAL LANE
       Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
       BUFFORD                                       GA            30519
       Clly                                         State         ZIP Code              El Contingent
                                                                                          UnliquIdated
       Who incurred the debt? Check one.                                                O Disputed
              Debtor 1 only
       El Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
       U Debtor land Debtor 2 only                                                      LI   Student loans
       El At least one of the debtors and another                                       LIObligaUons arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
       0      Check If this claim is for a community debt
                                                                                        U Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  • Other. Specify JUDGEMENT FOR RENT
       le No
       0 Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                      ciage3   of
       Case 17-64941-sms                           Doc 45             Filed 01/29/21 Entered 01/29/21 16:01:14                                       Desc Main
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Debtor 1          ROGER CARROLL BURGESS                                                                    Case number (slum.)
                  First Name         Middle Name         Last Name


Part 2:         Your NONPRIORITY Unsecured Claims — Continuation Page

                 , . • -,
Aftei:11$069.atili enttle:S:po:tii 3Ogeokimb.Ort001.:#0000.0.9**4*NYSOd:t v,                                   ijAhOolcofth

4.7                                                                                   Last 4 digits of account number         _4 _6 _9 _2
      FIGIS                                                                                                                                                        369.00
      Nonpriority Creditor's Name
                                                                                      When was the debt Incurred?             04/13/2017
      PO BOX 77001
      Number            Street
                                                                                      As of the date you file, the claim is: Check all that apply.
      MADISON                                          WI             53707
      City                                             Stale         ZIP Code         O Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.                                               lid Disputed
      W' Debtor 1 only
      0  Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
         Debtor 1 and Debtor 2 only                                                    •   Student loans
         At least one of the debtors and another                                       •   Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       1:1 Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  O Other. Specify MEDICAL BILL COLLECTION
      0      No
      LI Yes

                                                                                                                                                                          1
4.8                                                                                                                                                               1,900.001
      FRED AND MAXINE JONES
                                                                                       Last 4 digits of account number         -     _
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?            01/18/2018
      PO BOX 1499
      Number            Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      LITHO1NA                                          GA            30094
      City                                             Stale         ZIP Code          CI       Contingent
                                                                                       ▪        Unliquidated
      Who incurred the debt? Check one.                                                lir      Disputed
      ▪      Debtor 1 only
             Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       0     Debtor 1 and Debtor 2 only                                                    O Student loans
       0     At least one of the debtors and another                                       O Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
       ▪      Check if this claim is for a community debt
                                                                                           O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                      lid Other. Specify JUDGEMENT FOR RENT
       O No
       kf Yes

                                                                                           Last 4 digits of account number       -   —
       Nonpriority Creditor's Name
                                                                                           When was the debt incurred?

       Number            Street
                                                                                           As of the date you file, the claim is: Check all that apply.

       City                                             State        ZIP Code              CIContingent
                                                                                           • Unliquidated
       Who incurred the debt? Check one.                                                   O Disputed
       O Debtor 1 only
       O Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim:
       LI Debtor 1and Debtor 2 only                                                        O Student loans
       0 At least one of the debtors and another                                           O Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
       0      Check if this claim is for a community debt
                                                                                           O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     O Other. Specify
       O No
       0 Yes



Official Form 106E/F                                           Schedule EIF: Creditors Who Have Unsecured Claims                                                 vape4   of 6
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I=
Debtor 1        ROGER CARROLL BURGESS                                                            (mm..)17-64941
                                                                                                      Case number
                 First Name       Middle Name           Last Name


               List Others to Be Notified About a Debt That You Already Listed

5.   Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
     additional creditors here. if you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

       TRANSWORLD SYSTEMS                                                       On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

       500 VIRGINA DRIVE                                                        Line 4.4    of (Check one): 0         Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                                 id Part 2: Creditors with Nonpriority Unsecured Claims
       SUITE 514
                                                                                Last 4 digits of account number          4        1            1   7
       FT. WASHINGTON                           PA            19034
       City                                     State               ZIP Code


                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
                                                                                Line        of (Check one): 0         Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                                 O Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

                                                                                Last 4 digits of account number
       City                                     State               ZIP Code


                                                                                On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                Line        of (Check one): U Part 1: Creditors with Priority Unsecured Claims
       Number          Street                                                                                 •       Part 2: Creditors with Nonpriority Unsecured
                                                                                Claims

                                                                                 Last 4 digits of account number
       City                                     State               ZIP Code

                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                 Line       of (Check one): U Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                                 •      Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                                                 Last 4 digits of account number
       City                                     State               ZIP Code


                                                                                 On which entry in Part I or Part 2 did you list the original creditor?
        Name

                                                                                 Line       of (Check one):    U Part 1: Creditors with Priority Unsecured Claims
        Number          Street                                                                                    0    Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                                                 Last 4 digits of account number
        City                                     State              ZIP Code                                           0(.04101.1.1.1OVIIIPI



                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

                                                                                 Line        of (Check one): 0         Part 1: Creditors with Priority Unsecured Claims
        Number          Street                                                                                    O Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                                                 Last 4 digits of account number
        City                                     State               ZIP Code


                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
        Name

                                                                                 Line        of (Check one): U Part 1: Creditors with Priority Unsecured Claims
        Number           Street
                                                                                                                   O Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                 State               ZIP Code
                                                                                 Last 4 digits of account number_ —                            —   —
        City




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                  pacie5      of 6
          Case 17-64941-sms                      Doc 45            Filed 01/29/21 Entered 01/29/21 16:01:14                    Desc Main
               ROGER CARROLL BURGESS
                                                                  Document      Page 6 of 12       17-64941
    Debtor 1                                                                                    Case number (if Am.')
                   First Name     Middle Name         Last Name



    Part 4:    Add the Amounts for Each Type of Unsecured Claim


    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
       Add the amounts for each type of unsecured claim.




1:.:             6a. Domestic support obligations                                   6a                             0.00
  Tobd:Olairrii•                                                                      '    $
                     6b. Taxes and certain other debts you owe the
I
                         government                                                 6b.                            0.00
                     6c.Claims for death or personal injury while you were
                        intoxicated                                                 6c.                            0.00
                     6d.Other. Add all other priority unsecured claims.
                        Write that amount here.                                     6d. + $                        0.00


                     6e.Total. Add lines 6a through 6d.                             6e.
                                                                                                                   0.00




                     61. Student loans                                              6f.                            0.00
    Total clad :
    frOM.Part2       6g.Obligations arising out of a separation agreement
                        or divorce that you did not report as priority
                        claims                                                      6g.     $                      0.00
                     6h.Debts to pension or profit-sharing plans, and other
                        similar debts                                               6h.                            0.00

                     61 Other. Add all other nonpriority unsecured claims.
                        Write that amount here.                                     61.     $              14,250.00


                   : 6j. Total. Add lines 6f through 61.                            6j.
                                                                                                           14,250.00




    Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                               pace6   of 6
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Fill in this information to identify your case:

Debtor 1          ROGER                CARROLL             BURGESS
                   First Name             middle Name                  Last Name

Debtor 2
(Spouse, if filing) First Name            Middle Name                  Lasl Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number         17-64941                                                                                                                  El Check if this is an
 (If known)
                                                                                                                                                 amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                             121'15

  If you are an individual filing under chapter 7, you must fill out this form if:
  al creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:         List Your Creditors Who Have Secured Claims

        For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
        Information below.

          1:Clisibtiktliiiereditiiten4theiiropertitti**Cbilater'at                     at do you rntend to do with the property that      Did you claimltlicPM
                                                                                    secures a debt?                    ' • • •- '''''      ' exempt on Schedule C?
                                                                                                                                        ' as
         Creditor's                                                                   Surrender the property.                                No
         name:      CHRYSLER CREDIT
                                                                                   El Retain the property and redeem it                   U Yes
         Description of 2017 DODGE JOURNEY SE
         property                                                                  U Retain the property and enter into a
                        VIN: 3C4PDCABXHT622107
         securing debt:                                                              Reaffirmation Agreement.
                                                                                      Retain the property and [explain]:



         Creditor's                                                                U Surrender the property.                              U No
         name:
                                                                                      Retain the property and redeem it                   El Yes
         Description of
         property                                                                  El Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                   El Retain the property and [explain]:


         Creditor's                                                                El Surrender the property.                             1:1 No
         name:
                                                                                      Retain the property and redeem it.                  El Yes
         Description of
         property                                                                  El Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                   El Retain the property and [explain]:


         Creditor's                                                                El Surrender the property.                             U No
         name:
                                                                                   U Retain the property and redeem it                    U Yes
         Description of
         property                                                                     Retain the property and enter into a
         securing debt:                                                               Reaffirmation Agreement.
                                                                                   El Retain the property and [explain]:



  Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                          page 1
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Debtor 1          ROGER                            CARROLL          BURGESS                        Case number (If known)   17-64941
                 First Name          Middle Name        Last Name




Mill              List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume It. 11 U.S.C. § 365(p)(2).

       Describe yOur.iineXpkail;pariankrprOOrtYlOS";", ;;; ;                                                                  Wilt the Jeasa.be assumed'

      Lessors name:           ROGER BURGESS                                                                                     No
                                                                                                                                ms
      Description of leased 1601 SUGAR PLUM DRIVE CONYERS GA 30094
      property:             HOUSE ON A MONTH TO MONTH LEASE, RETURNED TO Owner.


      Lessor's name:                                                                                                          U No
                                                                                                                              0 Yes
      Description of leased
      property:


      Lessors name:
                                                                                                                                .Nlo
      Description of leased                                                                                                   0 Yes
      property:


      Lessors name:                                                                                                           U No
                                                                                                                              U Yes
      Description of leased
      property:


      Lessors name:                                                                                                           CI No
                                                                                                                              U Yes
      Description of leased
      property:


      Lessor's name:                                                                                                          U No
                                                                                                                              U Yes
      Description of leased
      property:


      Lessor's name:                                                                                                          0 No
                                                                                                                              0 Yes
      Description of leased
      property:




  Part 3:         Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that' ubject to an unexpired lease.


                                                                      X N/A
      Signatu     of Debt                                                Signature of Debtor 2


      Date ° 1     •   2021                                              Date
            MN/    Do         YYYY                                              MM   DD/   YYYY




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                           page 2
           Case 17-64941-sms                        Doc 45     Filed 01/29/21 Entered 01/29/21 16:01:14                                             Desc Main
                                                              Document      Page 9 of 12

Fill in this information to identify your case:


Debtor 1            ROGER                    CARROLL         BURGESS
                    First Neale               Mae Name                 Last Name

Debtor 2
(Spouse, it Sing)   Rat Name                  Middle Name              Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number          17*69641
(if known)
                                                                                                                                                   eir Check if this is an
                                                                                                                                                        amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                             12115

  If two married people are filing together, both are equally responsible for supplying correct information.
  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



  IIII               Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         Er No
            Yes. Name of person                                                                 Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                Signature (Official Form 119).




         Under penalty of perjury. I declare that I have read the summary and schedules filed with this declaration and
         that they are true and c • ect.




          Signa ure of De or 1                                             Signature of/V
                                                                                      Debt724—


          Date      01/29/2021                                             Date
                 MM! DID          /   YYYY                                         MM! DO I   YYYY




   Official Form 106Dec                                     Declaration About an Individual Debtor's Schedules
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      AMENDED LISTOF CREDITORS 01/29/2021
      CASE NUMBER 17-64691 ROGER CARROLL BURGESS



     ROGER CARROLL BURGESS
     2612 LELAND DRIVE
     AUGUSTA, GA 30909

     AUTOSTAR ACCEPTANCE CORP
     3124 N. DECATUR ROAD
     SUITE 200
     SCOTTDALE, GA 30079

     CARLOS BASTO
     1904 MANNOR OAK LANE
     BUFFORD, GA 30519

     FIGIS
     PO BOX 77001
     MADISON, WI 53707

     FRED AND MAKXINE JONES
     PO BOX 1499
     LITHONIA, GA 30094

     KWAN WILLIAMS
     7453 EDENBERRY WAY
     LITHOINA, GA 30058

     ROOMS TO GO
     PO BOX 2107
     SEFENER, FL 33583

     SUNRISE CREDIT SERVICES
     PO BOX 9100
     FARMINDALE, NY 11735

     WALTON PULMONARY
     101 TARA COMMONS DRIVE
     LOGANVILLE, GA 30052
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                               UNITED STATES BANKRUPTCY COURT

                                 NORTHERN DISTRICT OF GEORGIA

                                           ATLANTA DIVISION


IN RE:   ROGER CARROLL BURGESS              )     Case No:     17-64941

                                                  Chapter      7


              Debtor(s)

                                           CERTIFICATE OF SERVICE



  I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter
mentioned, was more than 18 year of age, and that on the 29 day of JANUARY, 2021, I served a copy of

ADMENDED CREDITOR LIST AND SCHEDULES A/B/C/E/F, STATEMENT OF INTENT,106Sum, 106D

which was filed in this bankruptcy matter on the 29     day of JANUARY , 20..j.




Mode of service (check one):              C) MAILED                0   HAND DELIVERED

Name and Address of each party served (If necessary, you may attach a list.):
Office of the United States Trustee                     S. gregory Hayes
362 Richard B, Russell Building                        Hayes Financial Consulting
75 Ted Turner Drive, SW                                 Suite 555
Atlanta, GA 30303                                       2964 Peachtree Road
                                                        Atlanta, GA 30305


I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE               CORRECT.

Dated: 01/29/2021                                     Signature:

                                                      Printed/Name: ROGER CARROLL BURGESS


                                                      Address: 2612 LELAND DRIVE
                                                               AUGUSTA GA 30909




                                                      Phone: 404-809-0288

(Generic Certificate of Service — Revised 4/13)
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT #01263851 (HD) OF 01/29/2021


ITEM     CODE   CASE             QUANTITY                     AMOUNT   BY

   1      AM3   17-64941              1                      $ 32.00   Form Svcs
                Judge - Sage M. Sigler
                Debtor - ROGER CARROLL BURGESS


TOTAL:                                                       $ 32.00


FROM: Roger Carroll Burgess
      xx
      xx
      xx




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